












Dismissed and Memorandum Opinion filed December 16, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-01171-CR

____________

&nbsp;

KIRSTI SPENCE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



On Appeal from the 185th Court

Harris County, Texas

Trial Court Cause No. 1280753



&nbsp;

MEMORANDUM
OPINION

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this court has not delivered an opinion, we grant
appellant’s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the
Clerk of the court to issue the mandate of the court immediately.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Frost and Brown.

Do Not Publish C Tex. R. App. P. 47.2(b).





